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                    SUPREME COURT OF THE STATE OF NEW YORK
                    COUNTY OF SUFFOLK
                    _______________..__________----           X
                    In the Matter of MICHAEL     P. MCGREGOR,
                                                                                          Index No.: 622716/2021
                                                                    Petitioner,

                    For an Order of M==d--s   Pursuant to CPLR 7803(1)                     .
                    To Compel a Determination Pursuant to Penal Law
                    § 400.00(4-a)
                                                                                          AFFIDAVIT   IN SUPPORT            OF
                                                                                          MOTION    TO DISMISS
                                      -against-


                    STUART CAMERON,         in his Official Capacity as
                    Acting Police Cc=issioner     and Pistol Licensing
                    Officer,

                                                                  Respondent.
                    ______                                                           X

                    State of New York )
                                      ss.:
                    County of Suffolk )



                             MICHAEL       KOMOROWSKI,            having been duly sworn, deposes and says:

                             1.   I am currently   employed as a Lieutenant       in the Pistol Licensing    Bureau of the Suffolk


                    County    Police Depaitmciit       ("Pistol   Licensing   Bureau")   and have been so employed         in such


                    capacity for the past four (4) years. Ihave been employed by the Suffolk County Police Departiiiciit

                    for the past 30 years.

                             2.   I make this affidavit     in support of the Respondent's        Motion   to Dismiss the Verified

                    Petition of Petitioner                P. McGregor    ("Petitioner"
                                             Michael                                     or "McGregor")      pursuant to CPLR §§

                    321 l(a)(1)   and (7) because:      (1) it is barred by documentary        evidence, and (2) it fails to state a

                   cause of action.




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                            3.    Due to COVID,        the Suffolk County Police Depâstñieñi Pistol Licensing Bureau did not

                    conduct new applicant         interviews      between March 2020 and June 2020, and between December

                    2020 and April 2021. This caused a significâñt              back-log of applicant questionnaims            waiting to be

                    assigned to Applicant         Investigators     for interviews.        In addition,   in 2020, 6213 Pistol License

                    Applicant     Questionnaires        were      submiMed,    and    in     2021,     3019    Pistol   License     Applicant

                    Questionnaires     were submined.          This number is in stark comparison             to the years 2017, 2018, and


                    2019, when the average for d±:f                   Pistol License Queetie=eins             was 2100 per year.

                            4. On or about November               11, 2020, Petitioner      submitted to the Pistol Licensing         Bureau,

                    a Pistol License Applicant         Quectioreire      (form PDCS 4406n Rev.2), a redacted copy of which is

                    annexed hereto as Exhibit A.

                            5. The submission of the Pistol License Applicant                   Questiennec        is the first step towards


                    attaining    a pistol license.    The next step is for the applicant to be called into the Pistol Licensing

                    Bureau for an interview,         during which time the epp!icent is ñügerprinted              and a formal New York

                    State Pistol/Revolver       License Application       (form PPB3 rev. 06/17) ("NYS             Application")     (annexed

                    hereto as Exhibit    "B")     is coñipleted.      The fingerprints     are forwarded       to New York State and the

                    NYS Application      is investigated.

                            6. According        to Penal Law §400.00 (4-a), the Suffolk              County Pistol Licensing       Bureau has

                    six (6) months to act upon the Petitioner's           completed NYS Application.             The six (6) month period

                    starts to run once Petitioner      is interviewed,     during which time he will be fingerprinted              and he will

                    complete the NYS Application.            Accordingly,     the date the NYS Application              and fingerprints   are

                    completed (the date of the interview),          is the date by which the six (6) month time frame as set forth

                    in NYS Penal Law § 400.00(4-a)             commences.




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                             7.   On November    15, 2021, Fetitiencr's   matter was assigned to an Applicant     Investigator.

                    It is anticipated that Petitioner will be called in for an interview    within the next several months.

                             8. Since Petitioner's   NYS Application      will not be completed   until he is interviewed    and

                    flagerprinted,   his petition and writ of e ed:nna        seeking to compel the immediate   determination

                    of his application   for a New York      State Pistol License      is prematürc   and must, therefore,    be

                    dismissed.




                                                                                MICHAEL     KOMOROWSKI

                    Sworn to before me this
                      day of December 2021



                    State of  w York
                    Notary Public




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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF SUFFOLK
          ------------------------------------------------------------------X
          In the Matter of MICHAEL P. MCGREGOR,
                                                                                Index No.: 622716/2021
                                                         Petitioner,

          For an Order of Mandamus Pursuant to CPLR 7803(1)
          To Compel a Determination Pursuant to Penal Law                       Assigned Justice:
          § 400.00(4-a)                                                         Hon. Kathy G. Bergmann

                           -against-

          STUART CAMERON, in his Official Capacity as
          Acting Police Commissioner and Pistol Licensing
          Officer,

                                                       Respondent.
          ------------------------------------------------------------------X




                  _______________________________________________________________________

                  RESPONDENT’S MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
                  DISMISS
                  _______________________________________________________________________


                                                                                DENNIS M. COHEN
                                                                                Suffolk County Attorney
                                                                                Attorney for Respondent
                                                                                H. Lee Dennison Building
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                                                                                By: Hope Senzer Gabor
                                                                                Assistant County Attorney




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                                          PRELIMINARY STATEMENT


                  This Memorandum of Law is submitted in support of the Respondent, STUART

          CAMERON, in his Official Capacity as Acting Police Commissioner and Pistol Licensing

          Officer’s motion to dismiss the Petitioner’s Petition seeking a Writ of Mandamus for and Order

          and Judgment, pursuant to CPLR §§ 3211(a)(1) and (7). The Petition is premature, and therefore

          must be dismissed in its entirety because: (1) it is barred by documentary evidence, and (2) it fails

          to state a cause of action.

                  Petitioner filed a Verified Petition and “Writ of Mandamus to Compel the Immediate

          Determination of Petitioner’s Application for a New York State Pistol License” (NYSCEF Doc.

          No. 1) (Exhibit “C”), accompanied by a Memorandum of Law (NYSCEF Doc. No. 4), claiming

          that Respondent is in violation of New York State Penal Law § 400.00 (4-a). As argued below,

          the Petition must be dismissed as premature. Petitioner has not yet completed the Application for

          a New York State Pistol/Revolver License Application, which will be completed at the time of his

          interview, and, since his interview has yet to be conducted, the six (6) month time period as set

          forth in Penal Law § 400.00 (4-a) has not yet commenced.


                                                    ARGUMENT

                                                       POINT I

                                  THE STANDAND SET FORTH IN CPLR §3211
                                   DEMANDS DISMISSAL OF THIS ACTION

                  A motion to dismiss pursuant to CPLR §3211 will be granted where, as here, the moving

          party establishes entitlement to dismissal as a matter of law.

                  CPLR §3211 (a) provides in relevant part:




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                         3211. (a) Motion to dismiss cause of action. A party may move for
                         judgment dismissing one or more causes of action asserted against him on
                         the grounds that:
                                 1.      a defense is founded on documentary evidence, or…
                                 7.      the pleading fails to state a cause of action.
          CPLR §3211 (a)(1) and (7) .

                 On a motion to dismiss, the sole issue before the Court is whether the facts alleged in the

          Complaint fit any cognizable legal theory. The standard is whether the plaintiff has a cause of

          action, not whether the complaint states a cause of action. Leon v. Martinez, 84 N.Y.2d 83, 87-88

          (1994); see also, Goldman v. Metropolitan Life Ins. Co., 5 N.Y.3d 561 (2005). It is well established

          that on a motion to dismiss, the Court’s task is to determine “whether, accepting as true the factual

          averments of the Complaint, plaintiff can succeed upon any reasonable view of the facts stated

          (internal citations omitted).” People v. New York City Transit Authority, 59 N.Y.2d 343, 348

          (1983). Conclusory allegations, however, are insufficient to survive a motion to dismiss. See,

          Godfrey v. Spano, 13 N.Y.3d 358, 373 (2009).

                 In this case, as discussed in detail below, Petitioner cannot succeed based on any reasonable

          view of the facts, the reasons being independent and sufficient on their own, because: (i) there is

          documented proof that Petitioner has not yet completed the New York State Pistol Licence

          Application (he only filed a Pistol License Applicant Questionnaire) and (ii) Petitioner fails to

          plead a cause of action against Respondent. Accordingly, the Petition must be dismissed in its

          entirety.

                                                 POINT II

          THE PETITION IS PREMATURE AND THEREFORE MUST BE DISMISSED

                 A. Documentary Evidence




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                 A motion to dismiss pursuant to CPLR 3211(a)(1), on the ground that the action is barred

          by documentary evidence: “may be appropriately granted only where the documentary evidence

          utterly refutes plaintiff’s factual allegations, conclusively establishing a defense as a matter of

          law.” Goshen v. Mutual Life Ins. Co. of New York, 98 N.Y. 2d 314, 326, 774 N.E. 2d 1190, 746

          N.Y.S.2d 858 (2002), Himmelstein, McConnell, Gribben, Donoghue & Joseph, LLP v. Matthew

          Bender & Co., Inc. 37 N.Y. 3d 169, 174, 117 N.E. 3d 1192, 1194, 150 N.Y.S. 3d 79, 83 (2021).


                 As set forth in his Verified Petition, Petitioner is under the mistaken belief that he filed a

          New York State Application for a Pistol/Revolver License, when, in fact, he only took the first

          step in the process. On or about November 11, 2020, Petitioner submitted to the Pistol Licensing

          Bureau, a Pistol License Applicant Questionnaire (form PDCS 4406n Rev.2) (“Applicant

          Questionnaire”) a copy of which is annexed to the affidavit of Lt. Michael Komorowski as Exhibit

          “A”. This is not the New York State Application for a Pistol/Revolver License, (form PPB 3 rev.

          06/17) (“NYS Application”) which is annexed to the affidavit of Lt. Komorowski as Exhibit “B”.

                 As explained in Lt. Komorowski’s Affidavit, the reflief sought by Petitioner is premature.

          Petitioner took the first step in the process for obtaining a pistol license by submitting a Pistol

          License Applicant Questionnaire. The next step will take place when the Petitioner is called into

          the Pistol Licensing Bureau for an interview, during which time he will be fingerprinted and the

          formal NYS Application is completed. The fingerprints are forwarded to New York State and the

          NYS Application is investigated. (Komorowski Affidavit ¶ 5). In accordance with Penal Law

          §400.00 (4-a), the Suffolk County Pistol Licensing Bureau has six (6) months to act upon the

          Petitioner’s completed NYS Application. The six (6) month period starts to run once Petitioner is

          interviewed, during which time he will be fingerprinted and he will complete the NYS Application.




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          (Komorowski Affidavit ¶ 6). Since this time period has not yet commenced, the Pettition is

          premature and must therefore, be dismissed as a matter of law.

                 The documentary evidence clearly illustrates that Petitioner submitted his Applicant

          Questionnaire on November 11, 2020. (Komorowski Affidavit Exhibit “A”). The documentary

          evidence also shows that Petitioner’s NYS Application is not complete until such time as he is

          interviewed and fingerprinted. (Komorowski Affidavit Exhibit “B”). Although on November 15

          2021, Petitioner’s application was assigned to an Applicant Investigator, Petitioner has yet to be

          called in for an interview (Komorwski Affidavit ¶ 7). Once the interview takes place, Petitioner

          will be fingerprinted and he will complete the NYS Application. The six month statutory time-

          frame, and pursuant to Penal Law §400.00 (4-a), will then commence. The Suffolk County Pistol

          Licensing Bureau has six (6) months from that date to act upon the Petitioner’s completed NYS

          Application. (Komorowski Affidavit ¶ 6).

                 In a similar matter, this Court (Hon. James Hudson) dismissed a CPLR Article 78 petition

          seeking the remedy of mandamus to compel the issuance of a pistol permit. In that case, Petitiioner

          had not fully completed his application for a pistol license and the Court determined that the

          Petition was premature due to the fact that the six (6) month statutory time period set forth in NYS

          Penal Law § 400.00 (4-a) had not yet expired. Annexed hereto as Exhibit “D” is a copy of the

          decision, McCarthy v. Sini, Index No.: 006103/2016 (Sup. Ct. Suf. Cty., September 15, 2016).

          Same here; since Petitioner has not yet completed the NYS Application, the Petition is premature

          and therefore, must be dismissed.




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                                                CONCLUSION

                 In view of the foregoing, it is respectfully submitted that the Petition be dismissed in its

          entirety as premature, together with such other and further relief this Court may deem just, proper,

          and equitable.


          Dated: Hauppauge, New York
                 December 28, 2021


                                                           DENNIS M. COHEN
                                                           Suffolk County Attorney

                                                           By: Hope Senzer Gabor
                                                           Hope Senzer Gabor
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